Case 1:23-cv-07124-ALC Document 50 Filed 05/16/24 Page 1 of 2
         Case 1:23-cv-07124-ALC Document 50 Filed 05/16/24 Page 2 of 2




       This is Plaintiff’s second extension request to file her amended complaint. Plaintiff’s
counsel has been diligently working to meet the previously agreed upon deadline. However, her
husband has had some health issues that have taken some time to deal with. These issues have
caused delay in producing her work in the previously anticipated timeframes.

        On May 13, 2024, Plaintiff’s counsel reached out to Defendants’ counsel about altering the
briefing schedule. Defendants’ counsel promptly responded stating that Defendants consent to
Plaintiff filing her amended complaint by June 3, 2024. Further, the Plaintiff consented to amend
Defendants’ deadline to answer or otherwise respond to the amended complaint until July 9, 2024.

        For the reasons stated above, Ms. Wright hereby respectfully requests that the Court amend
the briefing schedule to the Proposed Schedule listed above.

       Respectfully submitted,

       /s/ Megan Keenan
       Megan Keenan
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       Attorney for Plaintiff Hillary Wright




                Dated: May 16, 2024




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